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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               TERRE HAUTE DIVISION

UNITED STATES OF AMERICA,                          )
               Plaintiff,                          )
                                                   )
              v.                                   )      2:21-mj-00026-CMM
                                                   )
SHANE M. MEEHAN,                                   )
              Defendant.                           )

                   ORDER ON DEFENDANT’S MOTION TO CONTINUE
                               INITIAL HEARING

       This matter is before the Court upon Defendant’s Motion to Continue the August

4, 2021 initial hearing presently set in this cause, and the Court, being duly advised, now

finds the Motion well taken, and that the Motion should be GRANTED for the reasons set

forth in Defendant’s Motion.

       IT IS THEREFORE ORDERED that the August 4, 2021, initial hearing is vacated,

and that the hearing in this cause be rescheduled to commence on August 13, 2021 at

1:30 p.m., Room 131, United States Courthouse, 921 Ohio Street, Terre Haute, Indiana



        July 29, 2021
Dated: _______________                             ______________________________
                                                   CRAIG M. MCKEE, Magistrate Judge
                                                   United States District Court
                                                   Southern District of Indiana

Distribution to all registered counsel via electronic notification
